   Case: 4:10-cv-02115-AGF Doc. #: 1 Filed: 11/09/10 Page: 1 of 7 PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI

LINDA WITHERS                      )
7136 Rhodes Avenue                 )
Affton, MO 63123                   )
                                   )
       Plaintiff,                  )
                                   )               Case No. 4:10-cv-2115
       vs.                         )               Division No.
                                   )
LAW OFFICES OF MITCHELL N. KAY, PC )
7 Penn Plaza                       )
New York, New York 10001           )
                                   )
       Defendant.                  )

               PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, LINDA WITHERS (Plaintiff), through her attorneys, KROHN & MOSS, LTD.,

alleges the following against Defendant, LAW OFFICES OF MITCHELL N. KAY, PC,

(Defendant):

                                     INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692

       et seq. (FDCPA).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and

       insurers.

                              JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”


                                  VERIFIED COMPLAINT                                         1
Case: 4:10-cv-02115-AGF Doc. #: 1 Filed: 11/09/10 Page: 2 of 7 PageID #: 2




4. Defendant conducts business in the state of Missouri, and therefore, personal jurisdiction

   is established.

5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                        PARTIES

6. Plaintiff is a natural person residing in Affton, St. Louis County, Missouri.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

   to collect a consumer debt from Plaintiff.

9. Defendant is a collection agency with a business office in New York, New York.

                              FACTUAL ALLEGATIONS

10. Defendant communicated with Plaintiff seeking and demanding payment for an alleged

   debt (Defendant’s Reference No.: 84985120-10).

11. Defendant is attempting to collect a debt from Plaintiff on behalf of the original creditor,

   CAPITAL ONE BANK (USA), NA (CAP ONE), with an account number ending in

   2252 (Defendant’s collection letter regarding the CAP ONE debt dated February 9,

   2010, is attached as Exhibit A).

12. The debt owed to CAP ONE is for a consumer account (Exhibit A).

13. Plaintiff’s alleged debt owed to CAP ONE arises from transactions for personal, family,

   and household purposes (Exhibit A).

14. On or about February 9, 2010, Defendant sent Plaintiff the letter attached as Exhibit A

   regarding the debt owed to CAP ONE (Exhibit A).

15. Defendant’s letter attached as Exhibit A is printed on Defendant law firm’s letterhead.

                                 VERIFIED COMPLAINT                                            2
   Case: 4:10-cv-02115-AGF Doc. #: 1 Filed: 11/09/10 Page: 3 of 7 PageID #: 3




   16. Plaintiff believed Defendant’s letter attached as Exhibit A meant that legal action has

      been, or soon will be, brought against her.

   17. Defendant did not intend to take legal action against Plaintiff at the time Defendant

      mailed the February 9, 2010, letter to Plaintiff, as Defendant’s letter states that “At this

      point in time, no attorney with this firm has personally reviewed the particular

      circumstances of your [Plaintiff’s] account” (Exhibit A).

   18. As of the filing of this Complaint, Defendant has not taken any legal action against

      Plaintiff.

                            COUNT I
   DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   19. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692e of the FDCPA by using false, deceptive, and

              misleading representations in connection with the collection of any debt;

          b. Defendant violated §1692e(3) of the FDCPA by falsely representing that the

              communication is from an attorney;

          c. Defendant violated §1692e(5) of the FDCPA by threatening to take legal action

              against Plaintiff even though Defendant has not and does not intend to take such

              action; and

          d. Defendant violated §1692e(10) of the FDCPA by using false and deceptive

              means in an attempt to collect a debt.

      WHEREFORE, Plaintiff, LINDA WITHERS, respectfully requests judgment be entered

against Defendant, UNDERWOOD LAW FIRM, for the following:

   20. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k,
                                   VERIFIED COMPLAINT                                            3
   Case: 4:10-cv-02115-AGF Doc. #: 1 Filed: 11/09/10 Page: 4 of 7 PageID #: 4




   21. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

        15 U.S.C. 1692k

   22. Any other relief that this Honorable Court deems appropriate.

                                    RESPECTFULLY SUBMITTED,



                                    BY:/s/:____Adam Maxwell______
                                           Adam Maxwell
                                           MO Bar No. 62103
                                           EDMO Bar No. 5249607
                                           Krohn & Moss, Ltd.
                                           10474 Santa Monica blvd.
                                           Suite 401
                                           Los Angeles, CA 90025
                                           Tel: 323-988-2400
                                           Fax: 866-583-3695
                                           amaxwell@consumerlawcenter.com
                                           Attorney for Plaintiff



                               DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, LINDA WITHERS, demands a jury trial in this

case.




                                  VERIFIED COMPLAINT                                          4
Case: 4:10-cv-02115-AGF Doc. #: 1 Filed: 11/09/10 Page: 5 of 7 PageID #: 5
Case: 4:10-cv-02115-AGF Doc. #: 1 Filed: 11/09/10 Page: 6 of 7 PageID #: 6




                         EXHIBIT A




                          VERIFIED COMPLAINT                                 6
Case: 4:10-cv-02115-AGF Doc. #: 1 Filed: 11/09/10 Page: 7 of 7 PageID #: 7
